PETER G. ANGELOS,

TOKAI PHARMACEUTICALS, INC.,
JODIE POPE MORRISON, LEE H.
KALOWSKI, SETH L. HARRISON,
TIMOTHY J. BABERICH, DAVID A.
KESSLER, JOSEPH A. YANCHIK,
III,
CORP., STIFEL, NICOLAUS &
COMPANY, INCORPORATED, WILLIAM
BLAIR & COMPANY, L.L.C., and
JANNEY MONTGOMERY SCOTT LLC,

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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Plaintiff

Vv.

C.A. No. 17-11365-MLW

BMO CAPITAL MARKETS

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Defendants.
MEMORANDUM AND ORDER
WOLF, D.J. October 9, 2020
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I. SUMMARY

Plaintiff Peter Angelos alleges claims of securities fraud
against defendants Tokai Pharmaceuticals, Inc. ("Tokai") and
several officers and directors of Tokai (collectively, the "Tokai
Defendants"), and BMO Capital Markets Corp., Stifel, Nicolaus &
Company, Inc., William Blair & Company, LLC, and Janet Montgomery
Scott LLC (collectively, the "Underwriter Defendants").

Tokai was a pharmaceutical company developing an experimental
prostate cancer treatment drug called galeterone. Angelos was a
major investor in Tokai. He ultimately lost over $10,000,000 on
his investments after Tokai announced that it was halting
development of galeterone in July 2016, causing the company's
shares to lose most of their value.

Angelos alleges that the Tokai Defendants are responsible for
materially false and misleading statements and omissions in the

Registration Statement for Tokai's 2014 Initial Public Offering
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("IPO"), which was underwritten by the Underwriter Defendants.
Angelos also alleges that the Tokai Defendants were responsible
for materially false and misleading statements and omissions in
various public statements following Tokai's IPO.

More specifically, Angelos alleges violations of Section 11
of the Securities Act (Count 1), Section 15 of the Securities Act
(Count 3), Section 10(b) of the Exchange Act and Rule 10b-5 (Count
4), and Section 20(a) of the Exchange Act (Count 5). See 15 U.S.C.
§§77k(a), 783(b); 17 C.F.R. §240.10b-5(b).

The Tokai and Underwriter Defendants have separately moved to
dismiss the Amended Complaint. As explained below, the court is
granting the motions to dismiss because the complaint fails to
allege facts sufficient to prove violations of Section 11 or
Section 10(b) by the Tokai Defendants and, therefore, the Section
15 and 20 claims against them, and the claims against the
Underwriter Defendants must be dismissed as well.

II. THE MOTION TO DISMISS STANDARD

To defeat a motion to dismiss under Rule 12(b) (6) for failure
to state a claim upon which relief can be granted, a plaintiff
must allege "a plausible entitlement to relief." Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 559 (2007). This means that the complaint

 

1 Plaintiff has agreed to the dismissal of Count 2 of the Amended
Complaint, which alleged claims under Section 12 of the Securities
Act.
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"must contain sufficient factual matter, accepted as true, to state
a claim to relief that is plausible on its face." Ashcroft v.
Iqbal, 556 U.S. 662, 678 (2009) (internal quotations omitted). A
claim is facially plausible if the plaintiff pleads "factual
content that allows the court to draw the reasonable inference
that the defendant is liable for the misconduct alleged." Id. at
683. "Where a complaint pleads facts that are merely consistent
with a defendant's liability, it stops short of the line between
possibility and plausibility of entitlement to relief." Id. at 678
(internal quotations omitted).

In considering a motion to dismiss under Rule 12(b)(6), the
court must "take all factual allegations as true and. . . draw
all reasonable inferences in favor of the plaintiff." Rodriguez

Ortiz v. Marao Caribe, Inc., 490 F.3d 92, 96 (1st Cir. 2007). The

 

court "neither weighs the evidence nor rules on the merits because
the issue is not whether plaintiffs will ultimately prevail, but
whether they are entitled to offer evidence to support their
claims." Day v. Fallon Cmty. Health Plan, Inc., 917 F. Supp. 72,
75 (D. Mass. 1996).

Federal Rule of Civil Procedure 9{b) imposes a heightened
pleading standard that requires that the plaintiff state “with
particularity the circumstances constituting fraud or mistake."
Fed. R. Civ. P. 9(b). To plead circumstances "with particularity,"

a plaintiff must specify "the who, what, where, and when of the

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allegedly false or fraudulent representation." Rodi v. S. New

England Sch. Of Law, 389 F.3d 5, 15 (1st Cir. 2004).

 

"Under Rule 12(b)(6), the district court may properly
consider only facts and documents that are part of or incorporated
into the complaint." Rivera v. Centro Medico de Turabo, Inc., 575
F.3d 10, 15 {ist Cir. 2009) (quotations omitted); see Watterson v.
Page, 987 F.2d 1, 3 (1st Cir. 1993). However, there are "narrow
exceptions for documents the authenticity of which are not disputed
by the parties; for official public records; for documents central
to plaintiff['s] claim; or for documents sufficiently referred to
in the complaint." Watterson, 987 F.2d at 3. When "a complaint's
factual allegations are expressly linked to -- and admittedly
dependent upon -- a document (the authenticity of which is not
challenged), that document effectively merges into the pleadings
and the trial court can review it in deciding a motion to dismiss
under Rule 12(b) (6)." Beddall v. St. Street Bank & Tr. ‘Co., 137
F.3d 12, 17 (ist Cir. 1998). When such documents contradict an
allegation in the complaint, the document trumps the allegation.
See Clorox Co. P.R. v. Proctor & Gamble Commercial Co., 228 F.3d
24, 32 (1st Cir. 2000) (citing Northern Ind. Gun & Outdoor Shows,
Inc. v. City of South Bend, 163 F.3d 449, 454 (7th Cir. 1998)).

IIt. FACTS

The Amended Complaint (Docket No. 80) alleges the following

facts. More detail regarding the particular statements plaintiff

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alleges were misleading are included in the below sections that
address the alleged misstatements.

Tokai was a developmental stage pharmaceutical company. Since
2008, Tokai had been focused on developing a single medication,
galeterone, for metastatic castration-resistant prostate cancer
("CRPC"), a serious form of prostate cancer. Tokai had no other
drugs or drug candidates. See Am. Compl. 9931-32. As Tokai had
accumulated a significant deficit by the end of 2013, it conducted
an IPO to raise funds. Tokai filed a Form S-1A Registration
Statement and Prospectus with the Securities and Exchange
Commission ("SEC"). It commenced the IPO on September 18, 2014.
The IPO raised $105,300,000 for Tokai. See id. {33.

To obtain Federal Drug Administration ("FDA") approval, a
candidate drug must go through three phases of clinical trials.
Phase I studies often involve twenty to eighty subjects and are
designed to determine how the drug works in humans. See id. 135.
Phase II studies usually involve no more than several hundred
subjects and are designed to evaluate the effectiveness of the
drug. See id. Phase III studies are typically large-scale trials,
usually involving several hundred to several thousand subjects,
and are intended to gather the information necessary to provide an
adequate basis for labeling the drug. See id. 135.

The Registration Statement stated that Tokai believed

galeterone had advantages over existing CRPC treatments in a

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certain subset of patients. See id. 437. At the time of the IPO,
the galeterone Phase 2 trial was ongoing, but had already reported
some promising findings. In particular, the Registration Statement
stated that a "retrospective subset analysis" of the Phase 2 data
indicated that galeterone was effective in a subset of CRPC
patients with DNA exhibiting "truncated androgen receptors as
having C-terminal loss", the most common variant of which is known
as "AR-V7". See id.- 9937-38, 45. The Phase 2 trial had studied
galeterone's effectiveness in CRPC patients who had not received
other treatment, without regard to whether the patients were AR-
V7 positive ("AR-V7+"). See id. 955. The Registration Statement
noted that two clinical studies had found that two existing CRPC
medications, Zytiga and Xtandi, were not effective in AR-V7+
patients. See id. 9139. By contrast, the retrospective analysis of
galeterone's Phase 2 data indicated that it was effective in six
out of the seven AR-V7+ patients that were studied. See id. 458.
The Registration Statement announced Tokai's intent to pursue
a Phase 3 trial studying galeterone's effectiveness in AR-V7+
patients, with the intention of obtaining FDA approval to market
the drug to them. See id. 141. The Registration Statement reported
that Tokai had met with the FDA and, based on these discussions,
was planning a Phase 3 trial comparing galeterone to Xtandi in up
to 170 AR-V7+ CRPC patients. See id. 941. An independent Data

Monitoring Committee would oversee the trial and review its

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results. See Registration Statement (Docket No. 83-1) (Mot. to
Dismiss Ex. 1) at 92.

Tokai had not ever run a Phase 2 trial aimed at testing
galeterone's effectiveness in AR-V7+ patients. See Am. Compl. 955.
Instead, Tokai relied on a retrospective analysis of its more
general Phase 2 data to support its belief that galeterone would
be effective in AR-V7+ patients. See id. Tokai allegedly decided
to shift its focus to AR-V7+ patients shortly before filing the
IPO, when it learned of the imminent release of a New England
Journal of Medicine article indicating that Zytiga and Xtandi were
not effective in these patients. See id. 9955-59.

According to plaintiff, there were several issues concerning
the Phase 3 trial proposed in the Registration Statement. Tokai
had never conducted a study testing galeterone on AR~V7+ patients
specifically, and had never compared it to other medications. See
id. 955. The planned Phase 3 trial was also much smaller than a
typical Phase 3 trial. See id. 961. Finally, the Phase 3 trial
would measure "radiographic progression free survival" ("rPFS") as
an endpoint, while the Phase 2 trial had measured the presence of

an antigen linked with prostate cancer.” Plaintiff, therefore,

 

2 “progression-free survival" is "(t]he length of time during and
after the treatment of a disease, such as cancer, that a patient
lives with the disease but it does not get worse." Nat'l Cancer
Inst., NCI Dictionary of Cancer Terms, available at https://

www. cancer. gov/publications/dictionaries/cancer- -terms/def/

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contends that the Phase 2 trial was so different that its results
did not suggest that the planned Phase 3 trial would be successful.
See id. 9760-63.

Tokai announced the commencement of the Phase 3 trial in a
June 24, 2015 press release, which stated that the trial had been
initiated at more than 15 sites and that results were expected by
the end of 2016. See id. 1165-69. Tokai's August 2015 Form 10-Q
similarly stated that the Phase 3 trial had begun and that Tokai
was "comparing galeterone to Xtandi [] in 148 metastatic CRPC
patients." Id. 9173. Tokai reportedly made similar statements in an
August 3, 2015 Boston Business Journal Article, and in an August
12, 2015 press release. See id. 1973-76. Tokai's November 2015
Form 10-Q again stated that the Phase 3 trial was underway in
approximately 148 patients. See id. 478.

In March 2016, Tokai issued a press release indicating that
the Phase 3 Trial was screening patients at over 100 clinical test
sites. See id. 980. It again stated that the trial was ongoing in
approximately 148 patients in its 2015 Form 10-K filed in March
2016. See id. On May 10, 2016, a press release stated that Tokai
had made "significant progress in our clinical development program
for galeterone" and that Tokai had "continued to accelerate

screening and enrollment." Id. 986.

 

progression-free-survival.
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Despite these previous optimistic statements, in a July 26,
2016 press release Tokai announced that it was discontinuing the
Phase 3 trial. See id. According to Tokai, the committee
responsible for monitoring the trial had determined that
continuing the trial was futile as it was unlikely to demonstrate
an improvement in the survival rate for AR-V7+ CRPC patients
treated with galeterone as compared to Xtandi. See id. 186. In
Tokai's next Form 10-Q, it announced that it would probably not
pursue development of galeterone for AR-V7+ patients and was
eliminating 60% of its workforce. See id. 188.

Angelos had purchased shares of Tokai stock at various times
between December 8, 2014 and November 3, 2015. See Docket No. 80-
1. Following Tokai's announcement of the cancellation of the Phase
3 trial, the price of a Tokai share fell from $5.20 to $1.10. See
id. 989. Angelos sold all of his remaining holdings in Tokai
following announcement of the cancellation of the Phase 3 trial.
See id. 4189-90. He lost more than $10,000,000, which was more
than 90% of his investment. See id.

The reasons for the termination of the Phase 3 study were
revealed in a Journal of Clinical Oncology ("JCO") article
published in May 2017, almost a year after Tokai announced the
study's cancellation. See Am. Compl. 92; JCO article abstract
(Mot. to Dismiss Ex. 19) (Docket No. 93-1). The JCO article

abstract states that 953 patients were screened, 73 were AR-V7+,

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38 were randomized into the study, 31 had "screen failed", and 4
were discontinued from screening when the study ended, indicating
that the trial was well below its planned enrollment of 148
patients. See Am. Compl. 492. The preliminary results of the halted
study also indicated that galeterone was less effective than Xtandi
in AR-V7+ patients, achieving favorable results in 13% (2/16) of
patients compared to 41% (8/19) for Xtandi. See id. Tokai itself
never disclosed these results. See id. 193.

Plaintiff contends that the disclosure of these results
revealed that many of Tokai's prior statements concerning the trial
were materially misleading if not false. See id. 119, 50, 92.
Plaintiff focuses particularly on Tokai's failure to disclose that
the study was failing to recruit an adequate number of test
subjects. See id. 4155.

IV. PROCEDURAL HISTORY

This case was originally consolidated for pretrial purposes
with two putative class actions brought under the Private
Securities Litigation Reform Act ("PSLRA"), Garbowski_ v. Tokai,
C.A. No. 16-11963, and Doshi v. Tokai, C.A. No. 16-11992. Those
cases were each voluntarily dismissed after the proposed lead
plaintiff withdrew his motion to serve as lead plaintiff. See
Garbowski v. Tokai Pharm., Inc., 302 F. Supp. 3d 441, 444 (D. Mass.
2018). A third related class action, Wu v. Tokai, C.A. No. 16-cv-

12550, was remanded to Massachusetts state court after the Supreme

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Court decided Cyan, Inc. v. Beaver Cty. Employees Ret. Fund, 138
S. Ct. 1061 (2018).
Angelos, suing on his behalf only, filed his Complaint on
July 25, 2017. See Docket No. 1. Following the dismissal and remand
of the related actions, Angelos filed an Amended Complaint on
September 7, 2018. See Docket No. 80. The Tokai and Underwriter
Defendants have moved to dismiss the Amended Complaint. see Docket
Nos. 81, 85.
Vv. PLAINTIFF HAS NOT STATED A PLAUSIBLE CLAIM THAT THE

REGISTRATION STATEMENT VIOLATED SECTION 11 OF THE
SECURITIES ACT.

Count 1 alleges that the Registration Statement violated
Section 11 of the Securities Act. See Am. Compl. 499112-119.
"Section 11 of the Securities Act creates a cause of action based
on a registration statement that 'contain[s] an untrue statement
of a material fact or omit[s] .. . a material fact required to be
stated therein or necessary to make the statements therein not
misleading.' 15 U.S.C. §77k(a)." Yan v. ReWalk Robotics Ltd., 973
F.3d 22, 31 (lst Cir. 2020); Omnicare, Inc. v. Laborers Dist.
Council Const. Indus. Pension Fund, 575 U.S. 175, 179 (2015).

Section 11 creates "virtually strict liability for any
‘untrue statement’ or misleading omission of material fact in a
registration statement." In re Ariad Pharm., Inc. Sec. Litig., 842
F.3d 744, 755 (1st Cir. 2016). "An issuer is strictly liable under

a Section 11 claim, while officers, directors and underwriters may

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raise the affirmative defense of reasonable investigation."
Lenartz v. Am. Superconductor Corp., 879 F. Supp. 2d 167, 187 (D.
Mass. 2012). Unlike claims under Section 10(b) of the Exchange
Act, to prevail on a Section 11 claim a plaintiff does not need to
prove a defendant acted with scienter, the "intent to deceive or
defraud." Omnicare, 575 U.S. at 179.

"(W)hether a statement is 'misleading' depends on the
perspective of a reasonable investor: The inquiry (like the one
into materiality) is objective." Id. at 186-87. "A fact is material
when there is 'a substantial likelihood' that a reasonable investor
would have viewed it as ‘significantly alter[ing]' the ‘total mix'
of information made available." City of Dearborn Heights Act 345

Police & Fire Ret. Sys. v. Waters Corp., 632 F.3d 751, 756 (1st

 

Cir. 2011) (quoting Basic Inc. v. Levinson, 485 U.S. 224, 231-32

(1988)). “A statement can be ‘false or incomplete' but not
actionable ‘if the misrepresented fact is otherwise
insignificant.'" Id. at 756-57 (quoting Basic, 485 U.S. 224 at
238) .3

 

3 The Underwriter Defendants contend that Federal Rule of Civil
Procedure 9(b)'s heightened pleading standards apply _ to
plaintiff's Section 11 claims because they "sound in fraud"
notwithstanding the Amended Complaint's general statement that the
Section 11 claims "do not sound in fraud." Am. Compl. 9113; see In
re Sonus Networks, Inc. Sec. Litig., 2006 WL 1308165, at *5 (D.
Mass. May 10, 2006) ("Claims under Sections 11 and 12 (a) (2) of the
Securities Act that ‘sound in fraud' also trigger the pleading
requirements of Rule 9(b)."). As the court finds that the Amended

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The Amended Complaint alleges numerous purported
misrepresentations and omissions in Tokai's Registration
Statement.

However, the court finds that the Amended Complaint fails to
state a claim for a violation of Section 11 because the alleged
false statements or omissions at issue could not be found to have
been material to a reasonable investor in light of the totality of
information disclosed in the Registration Statement. See Waters
Corp., 632 F.3d at 756. More specifically, the Registration
Statement adequately disclosed the many potential risks inherent
in the Phase 3 Trial as well as the Tokai Defendants' basis for
their hope that it would succeed. Therefore, the court is
dismissing plaintiff's Section 11 claims.

Plaintiff argues that the Registration Statement's
disclosures regarding the existing CRPC treatments, Xtandi and
Zytiga, were misleading. See, e.g., Feb. 18, 2020 Tr. at 26. More
specifically, the Amended Complaint alleges that it was materially
misleading for the Registration Statement to state that these drugs
had combined sales of over $2.1 billion in 2013, without disclosing
that the Phase 3 trials for each of the drugs had about 1,200

patients each, which is typical of a Phase 3 trial and much more

 

Complaint fails to adequately allege any material misstatements or
omissions in the Registration Statement, it is unnecessary to
resolve this issue.

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than the planned up to 170-patient galeterone Phase 3 study
described in the Registration Statement. See Am. Compl. 9943-44.4
According to plaintiff, this omission would have led a reasonable
investor to conclude that the Phase 3 trial for galeterone would
be of a similar size. See Sur-Reply (Dkt. No. 94) at 17.

At the hearing on the motions to dismiss, plaintiff also
argued that it was misleading for the Registration Statement to
note the $2.1 billion market for the existing drugs as there was
"no basis" to suggest that galeterone would take a significant
portion of this market or compete with them. See Feb. 18, 2020 Tr.
at 25. Plaintiff asserts that the eventual results of the Phase 3
trial indicate that AR-V7+ patients are rare and the size of the
market for a drug targeting such patients would be significantly
less than $2.1 billion. See Feb. 18, 2020 Tr. at 24-25.

The plaintiff does not plausibly allege that the failure to
include the foregoing information was misleading, or in any event
material, in light of the information that was disclosed. See

Waters Corp., 632 F.3d at 756; In re Keryx Biopharmaceuticals,

 

4 It appears that the Phase 3 trial size of Xtandi was disclosed
in a Form 8-K filed by its parent company, and that the Phase 3
trial size for Zytiga could be located on www.clinicaltrials.gov.
See Mem. Supp. Tokai Mot. Dismiss at 9, n.3; Exs. 12-15. The
parties dispute whether or not this information would already have
been known by a reasonable investor in light of the fact that it
could be uncovered from publicly available documents. The court
assumes, without finding, that reasonable investors would not be
aware of the size of clinical trials for Xtandi and Zytiga.

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Inc., Sec. Litig., 2014 WL 585658, at *10 (S.D.N.Y¥. Feb. 14, 2014)
("An actionable omission must be information that, in light of
other statements made, defendants had a duty to disclose so as not
to mislead."). The size of the planned Tokai Phase 3 trial -- up
to 170 patients -- was accurately disclosed numerous times in the
Registration Statement. See, e.g., Reg. Statement at 2, 5, 16, 76,
78, 91. Therefore, it is not plausible that a reasonable investor
would have been misled into thinking that galeterone's Phase 3
trial would involve the several hundred to several thousand
patients usually included in a Phase 3 trial. See, e.g., Nd.
Carpenters Pens. Ann. Fund v. Biogen Idec, Inc., 537 F.3d 35, 39
(lst Cir. 2008) ("Phase III studies are large-scale trials, usually
involving several hundred to several thousand subjects ... .").
Moreover, additional information regarding the sizes of the Phase
3 trials of competing drugs would not have been material to a
reasonable investor because the size and methodology of Tokai's
Phase 3 trial was properly disclosed in the Registration Statement.
See Gregory v. ProNAi Therapeutics Inc., 297 F. Supp. 3d 372, 411
(S.D.N.Y. 2018) ("Whatever plaintiffs' critique of the design of
ProNAi’s studies, plaintiffs cannot claim that these amply
disclosed design features were kept from the public.").

Plaintiff does not identify any representations in the
Registration Statement regarding the size of the market for

galeterone or any statements that a reasonable investor could

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construe as representing that the market for galeterone would be
comparable to the $2.1 billion market for Zytiga and Xtandi.
Rather, the Registration Statement stated that the market Tokai
was targeting consisted of only a "small percentage of CRPC
patients," the market being treated by Xtandi and Zytiga, and that
the prevalence of AR-V7+ was "subject to widely varying projections
in published literature." Reg. Statement at 19, 20. Therefore, it
is not plausible that the Registration Statement's mention of the
$2.1 billion market for Zytiga and Xtandi could be found to be
misleading.

Plaintiff also argues that the Registration Statement
misrepresented two studies of Zytiga and Xtandi to suggest that
galeterone would likely be more effective for AR-V7+ patients. See
Feb. 18, 2020 Tr. at 21. In addition, plaintiff alleges that Tokai
made a last-minute decision to focus its clinical development of
galeterone on AR-V7+ patients when it learned of a forthcoming
article finding that those drugs were ineffective in. AR-V7+
patients. See Am. Compl. 59.

The Registration Statement notes that "[iJn clinical studies
conducted by researchers at MD Anderson Cancer Center and Johns
Hopkins University, the presence in patients of truncated androgen
receptors with C-terminal loss and AR-V7+ was associated with poor
responsiveness of patients' prostate tumors to treatment with

Zytiga® . . . and Xtandi®... ." Am. Compl. 940. Plaintiff argues

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that the Registration Statement should have disclosed that the
leaders of these studies had stated that these findings were based
on small trials that may not have been reliable. See id. 1139-40.
According to plaintiff, the ineffectiveness of Zytiga and Xtandi
in AR-V7+ patients was essential to Tokai's “investment thesis"
that there was a significant market for a CRPC treatment for these
patients. See id. 943. The court assumes, for present purposes,
that the facts that the studies of Zytiga and Xtandi were based on
small samples and were preliminary could have been material to a
reasonable investor.

However, the claim that the Registration Statement did not
adequately disclose these facts is not plausible because
statements are not actionable where "(t]he total mix of available
information included the very information plaintiffs claim was
concealed." In re Merrill Lynch Auction Rate Sec. Litig., 704 F.
Supp. 2d 378, 397 (S.D.N.Y. 2010), aff'd sub nom. Wilson v. Merrill
Lynch & Co., 671 F.3d 120 (2d Cir. 2011) (quotations omitted).

While not mentioned in the "Overview" section of the
Registration Statement where the studies of Zytiga and Xtandi are
first discussed, the Registration Statement later discloses their
preliminary nature and the risks of drawing conclusions from them.
More specifically, the Registration Statement states that:

[T]he clinical studies conducted by MD Anderson and

Johns Hopkins only involved a limited number of patients
with C-terminal loss or AR-V7 and were conducted in

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different patient populations, using different protocols
and using different and unvalidated assays to identify
patients with C-terminal loss or AR-V7. . . . The outcome
of preclinical testing and clinical studies may not be
predictive of the success of later clinical trials and
is often susceptible to varying interpretations and
analyses. If Zytiga and Xtandi_ are found _ to be more.
responsive to C-terminal loss or AR-V7? than we
anticipate, any clinical trial designed to compare
galeterone to Zytiga and xXtandi for this patient
population would be less likely to succeed.

 

Reg. Statement at 18-19 (emphasis added). It goes on to state that
while "[w]le believe that these data [the Tokai retrospective study
and the study of Zytiga and Xtandi quoted above] support our view
that galeterone may be effective" in AR-V7+ patients, "there can
no assurance that these data will be predictive of the success" of
the Phase 3 trial. Id. at 19. In light of these specific
statements, it is not plausible that a reasonable investor would
have received from the Registration Statement the misleading
impression that the finding of studies that Xtandi and Zytiga were
ineffective in AR-V7+ patients was based on large studies or
conclusive.

Plaintiff next alleges that the Registration Statement was
materially misleading because it selectively disclosed Tokai's
discussions with the FDA. This claim is also not plausible.

The Registration Statement states that "[b]ased on [Tokai's]
discussions with the FDA," the planned Phase 3 trial would "be a
randomized, open label clinical trial comparing galeterone to

Xtandi in up to 170 metastatic CRPC treatment-naive patients whose

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prostate tumors express the AR-V7 splice variant." Reg. Statement
at 16. Plaintiff asserts that Tokai did not disclose the criteria
for eligibility to be studied that was so limiting that it would
be unable to recruit a sufficient number of patients for the study.
See id. 9142. Without identifying any evidence of discussions with
the FDA on this subject, plaintiff asserts that Tokai must have
discussed it with the FDA because relatively few patients
ultimately qualified for the study. See id. 7128.

The disclosure of positive FDA feedback without also

disclosing relevant negative or cautionary feedback could in some

 

circumstances constitute a material omission. See, e.g., Frater v.

Hemispherx Biopharma, Inc., 996 F. Supp. 2d 335, 346 (E.D. Pa.

 

2014). However, plaintiff does not allege facts that would support
a plausible inference that the FDA provided any negative or
cautionary feedback to Tokai. See id. As indicated earlier, the
Registration Statement stated that Tokai would seek to compare the
effectiveness of galeterone and Xtandi in up to 170 AR-V7+
patients. Reg. Statement at 16. The JCO article discussing the
results of the truncated trial, which is referenced in the Amended
Complaint, see Am. Compl. 9192, supports the conclusion that Tokai
attempted to do this.

The JCO article explains that 953 patients were screened for
admission into the study. 73 men were identified as AR-V7+. Of

these 73, 38 were randomized into the study, 31 "screen failed"

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(meaning they did not meet the criteria for inclusion into the
study), and 4 were discontinued from screening when the study was
cancelled. See JCO article (Docket No. 93-1). As indicated earlier,
the Registration Statement describes several criteria for
admission into the study. A patient must: 1) have metastatic CRPC;
2) have the AR-V7 genetic variation; and 3) not have undergone any
other CRPC treatment. See Reg. Statement at 16. There is no basis
for an allegation that any other exclusion criteria were applied
in the study. Therefore, the contention that the FDA prompted Tokai
to utilize undisclosed exclusion criteria, or provided Tokai any
relevant negative feedback, is merely speculative and not
plausible. See Iqbal, 556 U.S. at 683; Cody v. Conformis, Inc.,
199 F.Supp.3d 409, 418 (D. Mass. 2016).

As explained earlier, the Registration Statement detailed the
results of a retrospective subset analysis which found that
galeterone had been effective in six out of seven identified AR-
V7+ patients from Tokai's Phase 2 trial. Plaintiff contends it was
materially misleading for the Registration Statement to not
disclose that six of the eight individuals that conducted this
study had financial ties to Tokai. See Am. Compl. at 919145-49; Reg.
Statement at 2-3.

However, plaintiff does not allege that the findings of the
retrospective study were not true or that the researchers were

paid to reach a certain conclusion. In In re Milestone Sci. Sec.

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Litig., 103 F. Supp. 2d 425, 455 (D.N.J. 2000), the court held
that the failure to disclose the compensation of authors of
positive articles on the defendant company's product, which the
company cited in SEC filings, was not material where the plaintiff
did not allege that the authors "published anything other than
truthful findings" or were paid for the articles. This is equally
true in the instant case.

Finally, plaintiff also alleges that the Registration
Statement was misleading because it failed to disclose that the
proposed galeterone Phase 3 trial was doomed to fail because of
numerous issues with its design. See Am. Compl. 54. More
specifically, plaintiff alleges that Tokai had never conducted a
study testing galeterone on AR-V7+ patients and had never compared
it to other medications, as the Phase 2 trial had evaluated
galeterone as a stand-alone drug in CRPC patients generally. See
id. 955. Further, the Phase 2 trial had measured the presence of
an antigen linked with prostate cancer as an endpoint, while the
Phase 3 trial endpoint would be "radiographic progression free
survival". It is alleged that the approach of the Phase 3 trial
was, therefore, so far afield from that of the Phase 2 trial that
the Phase 2 results did not suggest Phase 3 would succeed. See id.
T160-62. The plaintiff also contends that the planned Phase 3
trial involved only 170 patients, while, as discussed earlier, a

typical Phase 3 trial involves 300 to 3000, and the Phase 3 trials

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for Xtandi and Zytiga had involved about 1,200 each. See id. 762.
In addition, plaintiff alleges that two successful trials are
typically required to obtain FDA approval for a drug, but Tokai
was planning only one. See id. 61.

In light of these alleged inadequacies, plaintiff asserts
that the statement of risks in the Registration Statement were
materially misleading. Plaintiff claims that the Registration
Statement should instead have disclosed that "galeterone had no
reasonable chance of being approved by the FDA." Compl. {54
(emphasis in original).

In essence, plaintiff argues that the planned Phase 3 trial
was fatally flawed from the outset. However, the design of the
study was fully disclosed in the Registration Statement. See Mem.
Supp. Tokai Mot. Dismiss at 8; Reg. Statement at 2, 16, 19; ProNAi,
297 F. Supp. at 411 ("Whatever plaintiffs' critique of the design
of ProNAi’s studies, plaintiffs cannot claim that these amply
disclosed design features were kept from the public."). The
research supporting the design of the planned Phase 3 trial, and
the reasons why Tokai believed that this design presented an
opportunity to capture a significant market that was not being
served by existing medications were described. The Registration
Statement also disclosed many risks inherent in Tokai's approach,
including that existing research "only involved a limited number

of patients with C-terminal loss or AR-V7," Reg. Statement at 18,

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with AR-V7, and that Tokai had "no experience recruiting patients
with AR-V7 for a clinical trial and the percentage of CRPC patients
with AR-V7 is subject to widely varying projections," id. at 20.
In bold type, the Registration Statement also stated that "[iJif
we experience delays or difficulties in the enrollment of patients
in our clinical trials . . . our receipt of necessary regulatory
approvals might be delayed or prevented." Id. at 19. In addition,
the Registration Statement said that "[i]f Zytiga and Xtandi are
found to be more [effective for] AR-V7 than we anticipate, any
clinical trial designed to compare galeterone to Zytiga and Xtandi
for this patient population would be less likely to succeed." Id.

Accordingly, when viewed in the context of the totality of

the Registration Statement, see Waters Corp., 632 F.3d at 756,

 

plaintiff has not alleged a plausible claim that any purported
misstatement or omission was material. Therefore, the motion to
dismiss his Section 11 claims is meritorious.

In view of the foregoing, plaintiff has not alleged a
plausible claim that the Registration Statement violated Section
11.

VI. PLAINTIFF HAS NOT STATED A PLAUSIBLE CLAIM THAT TOKAI'S
STATEMENTS AFTER THE IPO VIOLATED SECTION 10(b).

Plaintiff alleges violations of Section 10(b) and Rule 10b-5
against the Tokai Defendants only. These allegations address

several allegedly misleading statements and omissions made after

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the IPO. Since these statements were not in the Registration
Statement, there is no potential Section 11 liability for them.

See Shaw v. Dig. Equip. Corp., 82 F.3d 1194, 1204 (lst Cir. 1996)

 

(superseded by statute on other grounds). This is significant
because, unlike a Section 11 claim, a plaintiff must allege a
strong inference of scienter to plead a plausible Section 10(b)
claim.

While the court has doubts that plaintiff has adequately
alleged any material misrepresentations, the court is dismissing
plaintiff's Section 10{b) claims because plaintiff has failed to
plead a strong inference of scienter.

Section 10(b) of the Securities Exchange Act "forbids the
‘use or employ, in connection with the purchase or sale of any
security . . . , [of] any manipulative or deceptive device.'"
Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 318
(2007) (quoting 15 U.S.C. § 78j(b)). Pursuant to this statute, SEC
Rule 10b-5 makes it unlawful to, among other things, "make any
untrue statement of a material fact or to omit to state a material
fact necessary in order to make the statements made, in the light
of the circumstances under which they were made, not misleading."
17 C.F.R. §240.10b-5(b).

"To state a claim for securities fraud under Section 10(b),
a plaintiff must allege: (1) a material misrepresentation or

omission; (2) scienter, or a wrongful state of mind; (3) in

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connection with the purchase or sale of a security; (4) reliance;

(5) economic loss; and (6) loss causation." Fire & Police Pension

 

Ass'n of Colorado v. Abiomed, Inc., 778 F.3d 228, 240 (lst Cir.

 

2015).

"The PSLRA requires a securities fraud complaint to specify
each statement alleged to have been misleading [and] the reason or
reasons why the statement is misleading." Id. As explained earlier,
"la] fact is material when there is 'a substantial likelihood’
that a reasonable investor would have viewed it as ‘significantly
alter[{ing]' the 'total mix' of information made available." Waters
Corp., 632 F.3d at 756 (quoting Basic, 485 U.S. at 231-32). "A
statement can be false or incomplete but not actionable if the
misrepresented fact is otherwise insignificant." Id. at 756-57.

"Scienter is a 'mental state embracing intent to deceive,
Manipulate, or defraud.'" Waters Corp., 632 F.3d at 757. "The
scienter element may be satisfied by showing that the defendant
engaged in ‘intentional or willful conduct designed to deceive or
defraud investors by controlling or artificially affecting the
price of securities,'" or that the defendant acted "with a high
degree of recklessness." Id. (quoting Ernst & Ernst v. Hochfelder,
425 U.S. 185, 199 (1976)).

"The PSLRA also separately imposes a rigorous pleading
standard on allegations of scienter." ACA Fin. Guaranty Corp. v.

Advest, Inc., 512 F.3d 46, 58 (lst Cir. 2008). A complaint will

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survive a motion to dismiss only if it states with particularity
facts giving rise to a "strong inference" that defendants acted
with a conscious intent "to deceive or defraud investors by
controlling or artificially affecting the price of securities" or
"acted with a high degree of recklessness." Abiomed, 778 F.3d at
240. “(S]cienter should be evaluated with reference to the
complaint as a whole rather than to piecemeal allegations." ACA
Fin., 512 F.3d at 59. An inference of scienter is “strong" if "a
reasonable person would deem [it] cogent and at least as compelling
as any opposing inference one could draw from the facts alleged."
Tellabs, 551 U.S. at 324. However, a plaintiff "need not plead
facts that directly show scienter." ReWalk, 973 F.3d at 39.

i. Plaintiff Does Not Have Standing To Bring Claims

Based On Statements Made After His Last Purchase Of
Tokai Stock

A plaintiff asserting Section 10 claims only "has standing to
assert claims based on activity prior to the date [he] purchased
{(his] stock." Winer Family Tr. v. Queen, 503 F.3d 319, 325 (3d
Cir. 2007); ReWalk, 973 F.3d at 35 (same). Nor can a plaintiff
allege a Section 10(b) violation by claiming that they were induced
to hold, rather than purchase or sell, stock by misrepresentations.

See Winer Family Tr., 503 F.3d at 325 ("There is no private right

 

of action under Rule 10b-5 for mere holders of securities.").

Therefore, plaintiff lacks standing to assert Section 10(b) claims

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based on statements made by the Tokai Defendants after his final
purchases of Tokai stock on November 3, 2015.

This does not mean, however, that statements made by the Tokai
Defendants after this date are necessarily irrelevant to the
analysis of plaintiff's Section 10(b) claims. Plaintiff argues
that statements made after his final purchases of Tokai stock are
evidence of scienter, even though these statements could not
themselves serve as the basis of a Section 10 violation. See Feb.
18, 2020 Tr. at 87-89. It is true that, in certain circumstances,
statements made after a purchase of stock could be evidence of the

required scienter prior to that transaction. See, e.g., United

 

States v. Fields, 871 F.2d 188, 197 (1st Cir. 1989) ("Evidence of
a conspirator's post conspiracy activity is admissible if
probative of the existence of a conspiracy or the participation of

an alleged conspirator, even though they might have occurred after

 

the conspiracy ended."); Solow v. Citigroup, Inc., 827 F. Supp. 2d
280, 291 (S.D.N.Y. 2011) ("Post-purchase events have been
considered as evidence of scienter.").5

The court has, therefore, considered the Tokai Defendants'
statements after November 3, 2015 for the limited purpose of

deciding whether the alleged facts create the necessary strong

 

5 A post-purchase statement would be evidence of scienter if, for
example, a defendant said, "I knew my statement was false when I
made it."

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inference of scienter concerning the statements made prior to
November 3, 2015. However, rather than providing evidence of
defendants' intentions or knowledge when they made the statements
on which plaintiff can rely, their later statements at most
reiterate the alleged misrepresentations in their earlier
statements. They, therefore, have little, if any, probative value
concerning whether defendants acted with scienter prior to
November 3, 2015.

ii. Plaintiff Has Failed To Allege A Strong Inference
That The Tokai Defendants Acted With Scienter

Plaintiff alleges that the Tokai Defendants made numerous
statements following the IPO that were materially misleading. Most
of the statements quoted in the Amended Complaint concern the
status of the Phase 3 trial. For example, a June 24, 2015 press
release announced that the Phase 3 trial was "on track to read out
by the end of 2016." Am. Compl. 65. Several public statements
mentioned a 148-patient Phase 3 trial.® See id. 1173-76. Plaintiff
notes Tokai's filings regarding the Phase 3 trial on
www.clinicaltrials.gov, a public database of clinical trial
results. On the page for the galeterone Phase 3 trial, Tokai

represented that from the trial's commencement in June 2015 until

 

6 It is not clear why Tokai was seeking to recruit 148 patients
instead of the 170 stated in the Registration Statement. The court
does not find this discrepancy to be material.

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August 2016 enrollment in the Study was "148 (Anticipated)" and
that the study was "Recruiting" patients. See id. 9102.

Plaintiff argues that these statements were misleading as a
reasonable investor would have believed that Tokai had already
recruited 148 patients or that the trial was on track. See, e.g.,
Opp'n to Mot. Dismiss (Docket No. 88) at 12. Plaintiff also
contends that that the June 24, 2015 press release quoted a doctor
without disclosing her financial affiliation with Tokai. See id.
G66. He also asserts that a January 12, 2015 Tokai press release
cited research indicating that existing CRPC medications were
ineffective in AR-V7+ patients without stating that these findings
were preliminary. See id. 170.’

It is doubtful that any of the statements on which plaintiff
relies could be found to be materially misleading. With one
exception, all of the statements regarding the status of the trial
also included language that indicated that recruitment had yet to

begin or was ongoing. See, e.g., August 12, 2015 10-Q (Docket No.

 

7 The complaint also cites an August 28, 2015 press release in
which Tokai stated that "{i]nterim data" from the ongoing Phase 2
trial indicated that galeterone was effective in 6 out of 7 AR-
V7+ CRPC patients. Am. Compl. 971. Plaintiff alleges that this
statement was misleading as it did not disclose that "the leaders
of these studies found them to be preliminary." Id. It is not clear
where or when the leaders of this study, as opposed to the two
studies discussed earlier, stated that it was preliminary. In any
event, the court finds that this statement was not misleading as
the term "interim data" communicates that it is "preliminary".

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83-2) at 14 ("Implementation of the clinical trial assay is ongoing
and screening of eligible patients is expected to begin this
quarter."); June 24, 2015 press release (Docket No. 83-18)
("(S]creening of eligible patients for the splice variant is
expected to begin in July [2015]."). Similarly, Tokai's
www.Cclinicaltrials.gov filings indicated at all relevant times
that 148 patients were "anticipated" and that recruitment was
"ongoing". See Docket No. 83-4. Even if the statements quoted in
the complaint could suggest that Tokai had already recruited 148
patients when read in isolation, these other statements in the
same documents would have alerted a reasonable investor to the
fact that Tokai had not yet finished recruiting patients.

An August 3, 2015 Boston Business Journal article states,
without quotation marks, that Tokai Chief Executive Officer Jodie
Morrison said that "the 148-patient Phase 3 trial is underway."
Dkt. No. 112-2. Viewed in isolation, the statement attributed to
Morrison could, arguably, be materially misleading. However, nine
days later Tokai stated in a Form 10-Q filed with the SEC that
"screening of eligible patients is expected to begin this quarter."
August 12, 2015 Form 10-Q (Docket No. 83-2) at 14. This later
statement would have dispelled any impression caused by the August
3, 2015 article that Tokai had already recruited 148 patients.
Plaintiff did not purchase Tokai stock between August 3 and August

12, 2015. See Stock Purchase Exhibit (Docket No. 80-1). Therefore,

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a reasonable investor in his situation could not have reasonably
relied on, and been misled by, the statement attributed to Morrison
in the August 3, 2015 article.

In any event, as explained earlier, to state a plausible
Section 10 claim, plaintiff must plead sufficient facts to support
a strong inference of scienter. See Abiomed, 778 F.3d at 240. This
means that the inference of scienter must be “cogent and at least
as compelling as any opposing inference one could draw from the
facts alleged." Tellabs, 551 U.S. at 324. "({W]Jhen the facts as a
whole more plausibly suggest that the defendant acted innocently—
or even negligently-rather than with intent or = severe
recklessness, the action must be dismissed." Cozzarelli v. Inspire
Pharm. Inc., 549 F.3d 618, 624 (4th Cir. 2008). In essence,
plaintiff must allege facts supporting a strong inference that at
the time defendants made the alleged misrepresentations they
either knew them to be false or were at least reckless in making
them.

Judge Douglas Woodlock has accurately enumerated factors that
the First Circuit has found to support an inference of scienter.
These are:

° "insider trading in conjunction with false or
misleading statements";

* "a divergence between internal reports and public
statements";

* "disclosure of inconsistent information shortly after

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the making of a fraudulent statement or omission";
* "bribery by top company officials";

¢ "evidence of an ancillary lawsuit, charging fraud,
which was quickly settled";

* "disregard of current factual information acquired
prior to the statement at issue";

* "accounting shenanigans";

* "evidence of actions taken solely out of self-
interest";

* "significant GAAP violations"; and

* "motive and opportunity."

In re Sonus Networks, 2006 WL 1308165, at *12-13 (quoting Geffon
v. Micrion Corp., 249 F.3d 29, 36 (lst Cir. 2001)). Consideration
of these factors in this case indicates that plaintiff has failed
to allege the required strong inference of scienter.

Plaintiff argues that defendants knew that the statements at
issue were materially false and misleading. He notes stock sales
by insiders following the IPO, see Am. Compl. 9105, and the
"critical role" that the success of galeterone played in Tokai's
continued viability, id. 1997-98, and asserts that some of the
alleged misstatements were so "glaring" that they must have been
made with fraudulent intent, id. 9999-100.

As explained earlier, certain post-IPO statements that
plaintiff claims are misleading are either accurate or are not

misleading in the context of the entire document that contains

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them. Even assuming, without finding, that some of these statements
could constitute material misrepresentations, however, plaintiff's
allegations fail to create a strong inference that any of them
were known to be false or misleading or were made with reckless
disregard for the truth.

"In cases where [the First Circuit has] found [scienter], the
complaint often contains clear allegations of admissions, internal
records or witnessed discussions suggesting that at the time they
Made the statements claimed to be misleading, the defendant
officers were aware that they were withholding vital information
or at least were warned by others that this was so." In re Bos.

Sci. Corp. Sec. Litig., 686 F.3d 21, 31 (lst Cir. 2012). There are

 

no such allegations in this case. For example, there are no
allegations of any internal reports or communications indicating
that defendants knew of problems with the Phase 3 trial when the
allegedly misleading statements were made, or of any discussions
in which defendants expressed an intent to mislead investors about
the Phase 3 trial.

Instead, plaintiff argues that because far fewer than 148
patients enrolled in the Phase 3 study before it was terminated,
the defendants must have known at the time they made public
statements that the trial was not going to meet its goals. Although
Tokai's plan to recruit 148 subjects was unsuccessful, this is not

sufficient to prove that "the statements the Company made regarding

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the [Phase 3] trial were known to be false at the time they were

 

made." Keryx, 2014 WL 585658, at *13 (S.D.N.Y. Feb. 14, 2014)
(emphasis in original); see also In re Ariad, 842 F.3d at 754
("Because the complaint fails to indicate when the adverse events
occurred, let alone when the defendants became aware of them, it
fails to create a strong inference of scienter.").

The last statements on which plaintiff could have relied when
making his final purchase of Tokai stock in November 2015 were
made in August 2015. The Phase 3 trial was terminated in July 2016.
Plaintiffs' allegations do not support a strong inference that
defendants knew in August 2015 that the trial would fail almost a
year later.

The court recognizes that "a plaintiff may combine various
facts and circumstances indicating fraudulent intent—including
those demonstrating motive and opportunity—to satisfy the scienter
requirement." In re Cabletron Sys., Inc., 311 F.3d 11, 39 (1st
Cir. 2002) (quotations omitted). "Depending on _ context,
allegations of insider trading may offer some support for
inferences of scienter." Waters Corp., 632 F.3d at 760. “Insider
trading in suspicious amounts or at suspicious times may be
probative of scienter." Mississippi Pub. Employees' Ret. Sys. v.
Bos. Sci. Corp., 523 F.3d 75, 92 (lst Cir. 2008) However, "'([t]he
vitality of the inference to be drawn depends on the facts, and

can range from marginal to strong.'" Waters Corp., 632 F.3d at 760

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(quoting Greebel v. FIP Software, Inc., 194 F.3d 185, 197-98 (1st
Cir. 1999)). For stock sales by corporate officials to bolster an
inference of scienter, the trading must be, "[a]t a minimum .
unusual, well beyond the normal patterns of trading by those
defendants." Id. at 761 (quoting Greebel, 194 F.3d at 198).

While the Amended Complaint alleges sales by insiders on
certain dates, it does not address the significance of those sales
and why they support an inference of scienter. The Amended
Complaint includes a chart which lists sales made by defendants
Kalowski and Morrison, as well as by John McBride, Tokai's Chief
Operating Officer, and Novartis, a venture capital investor in
Tokai. See Am. Compl. 9105. However, the "mere pleading of insider
trading, without regard to either context or the strength of the
inferences to be drawn, is not enough." Greebel, 194 F.3d at 198.
In Abiomed, the First Circuit concluded that no inference of
scienter could be drawn from alleged insider sales made by senior
executives where, like here, "the complaint [was] silent as to the
percentage of holdings sold or the circumstances surrounding the
trades." Abiomed, 778 F.3d at 246.

Plaintiff does contend that the timing of the insider sales
is suspicious because they occurred around the time of the
initiation of the Phase 3 trial in June 2015. The complaint also
alleges that many sales occurred in April, July, and September

2015. The last alleged sale occurred in September 2015. See Am.

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Compl. 9105. However, the sales in June 2015 occurred more than a
year before the Phase 3 trial failed. Again, it is not reasonable
to infer that at or near the outset of the trial defendants
expected it would fail and, therefore, had a motive, based on
inside information, to sell some of their stock. See Keryx, 2014
WL 585658, at *13 (no inference of scienter from stock sales where
"sales did not take place shortly before either the alleged
corrective disclosure ... or. . . when the failure of the Phase
3 trial was announced").

In addition, public filings reveal that the amounts of sales
alleged in the complaint were small in comparison to the
defendants' holdings. For example, the complaint alleges sales by
Novartis that total only around 2% of the shares it held. See Am.
Compl. 91105; Mot. Dismiss Ex. 11 (2015 Proxy) at 30. Similarly,
Morrison sold only about 6% of her total holdings. See Am. Compl.
G@105; 2015 Proxy (Mot. Dismiss Ex. 11) (Docket No. 83-11) at 30.

See Brennan v. Zafgen, Inc., 853 F.3d 606, 615-16 (1st Cir. 2017)

 

(insider sales were not suspicious where the defendant retained
93% of his shares); Cozzarelli, 549 F.3d at 628 (sales of 13%,
12%, and 3% of insiders' holdings too small to support inference
of scienter). Kalowski's sales were more significant as he sold
31.5% of the shares he owned, but some of these were prescheduled
sales triggered by the vesting of stock options. See Mot. Dismiss

Ex. 8; Ex. 11 at 19-20.

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Indeed, the alleged sales by all defendants were made pursuant
to 10b-5 trading plans. See Mot. Dismiss Exs. 8-10. As this court
has previously written, "(t]he presence of a trading plan rebuts
an inference of scienter and supports the reasonable inference
that stock sales were pre-scheduled and not suspicious." Stiegele
v. Bailey, 2007 WL 4197496, at *13 (D. Mass. Aug. 23, 2007). See
also In re Gildan Activewear, Inc. Sec. Litig., 636 F. Supp. 2d
261, 272 (S.D.N.Y. 2009) (10b-5 plan “undermines any allegation
that the timing or amounts of the trades was unusual or
suspicious"). Plaintiff does not allege that these plans were
adopted after defendants knew of problems with the Phase 3 trial
to take advantage of an inflated share price. Compare In re Ariad,
842 F.3d at 754 n.6 ("([T]he defendants' use of 10b5-1 trading plans
is not dispositive in light of the plaintiffs' allegation that
those plans were executed after the beginning of the fraudulent
scheme.").

For these reasons, the allegations concerning insider trading
do not create or contribute to a strong inference of scienter.

As indicated earlier, plaintiff also alleges that defendants
had a motive to "make positive statements about the progress of
clinical trials and to omit to disclose negative information"
because of the importance of the success of the development of
galeterone to Tokai's continued viability. Am. Compl. 9197. These

allegations, however, are similar to "the usual concern by

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executives to improve financial results," which the First Circuit
has found to be too general to support an inference of scienter

without something more. Zafgen, 853 F.3d at 616; see also

 

Cozzarelli, 549 F.3d at 627 ("(T]he motivation[] to raise capital
. . . [is] common to every company and thus add[s) little to an
inference of fraud."). Such "'catch-all allegations’ which merely
assert motive and opportunity, without something more, fail to
satisfy the PSLRA." In re Cabletron, 311 F.3d at 39 (quotations
omitted). Rather, a viable scienter theory based on motive and
opportunity "require[s] plausible allegations of concrete benefits
that could be realized by the misstatement, and the likely prospect
of achieving such benefits." Keryx, 2014 WL 585658, at *8.
Plaintiff, however, does not allege that there were any financial
incentives or other benefits that the alleged misrepresentations
could have helped defendants achieve.

The court has "consider[ed] the complaint in its entirety."
Tellabs, 551 U.S at 322. In view of plaintiff's failure to allege
direct evidence of scienter or a sufficient motive for defendants
to have engaged in fraud, among other things, the court finds that
opposing, non-fraudulent inferences for their statements are more
plausible than the contention that defendants acted with scienter.
See id. at 324.

In essence, Plaintiff's theory is that defendants knew since

at least the beginning of the Phase 3 trial that it would be unable

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to recruit a sufficient number of patients, yet never informed the
public of these difficulties and repeatedly made statements
indicating that the trial was on track. In Cozzarelli, the Fourth
Circuit found similar allegations that the defendant company knew
that it was almost impossible that a Phase 3 trial would succeed
yet concealed this information in public statements to be "not
even plausible." See 549 F.3d at 627. Because an earlier study had
been successful, it was "much more likely that defendants believed
[the trial] would succeed than that they thought it would fail."

Id.; see also Sapir v. Averback, 2016 WL 554581, at *10 (D.N.J.

 

Feb. 10, 2016) (finding no scienter where "Lead Plaintiffs' theory
is that Defendants knew all along that the Phase 3 Studies were
unlikely to succeed but concealed this information in order to
prolong the viability of the Company.").

In this case the preclinical research and retrospective
analysis of the Phase 2 data described in the Registration
Statement supported Tokai's approach to the Phase 3 trial. As in
Cozzarelli, it is “improbable that [Tokai] would stake its
existence on a drug and a clinical trial that the company thought
was doomed to failure." 549 F.3d at 627. Rather, it is more likely
that defendants believed, or at least sincerely hoped, that the
Phase 3 trial would be successful than that they knew it would
fail and concealed this fact from investors. Therefore, plaintiff

has failed to allege an inference of scienter "cogent and at least

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as compelling as any opposing inference one could draw from the
facts alleged." Tellabs, 551 U.S. at 324.

Accordingly, the motion to dismiss the Section 10(b) claims
is meritorious.

VII. BECAUSE THE COURT HAS FOUND THAT PLAINTIFF HAS NOT STATED
PLAUSIBLE SECTION 11 OR SECTION 10 CLAIMS, PLAINTIFF'S
SECTION 15 AND SECTION 20 CLAIMS MUST BE DISMISSED

Plaintiff also alleges claims under Section 15 of the
Securities Act and Section 20(a) of the Exchange Act. See 15 U.S.C.
§77o(a); 15 U.S.C. §78t(a). "The plain terms of section 20(a)
indicate that it only creates liability derivative of an underlying
securities violation." ACA Fin., 512 F.3d at 67-68. See also
Conformis, 199 F. Supp. 3d at 420 ("The Section 11 claim fails to
state a claim . . . and concomitantly, so does the Section 15
claim."). As the court has concluded that plaintiff has failed to
adequately allege any Section 11 or Section 10(b) violations,

plaintiff's Section 15 and Section 20 claims must be dismissed.

VIII. THE CLAIMS AGAINST THE UNDERWRITER DEFENDANTS MUST BE
DISMISSED

Plaintiff alleges that the Underwriter Defendants violated
Section 11 of the Securities Act, 15 U.S.C. §77k. Because the court
has found that plaintiff has failed to adequately allege that the
Registration Statement contains any material misstatements or
omissions, the claims against the Underwriter Defendants must be

dismissed as well. See Shaw, 82 F.3d at 1201 ("Section 11 imposes

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liability on . . . underwriters[] if the registration statement
‘contained an untrue statement of a material fact or omitted to
state a material fact required to be stated therein or necessary
to make the statements therein not misleading.'") (quoting 15
U.S.C. §77k)).

IX. ORDER

In view of the foregoing, it is hereby ORDERED that:

1. The Tokai Defendants' Motion to Dismiss (Docket No. 81) is
ALLOWED.

2. The Underwriter Defendants' Motion to Dismiss (Docket No.
85) is ALLOWED.

3. This case is DISMISSED.

    

UNITED STATES DISTRICT JUDG

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